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 10 Counterclaimant TP-Link USA Corporation
 11                           UNITED STATES DISTRICT COURT
 12                          CENTRAL DISTRICT OF CALIFORNIA

 13                                WESTERN DIVISION

 14
      THIMES SOLUTIONS INC.,                  CASE NO.: 2:19-cv-10374-SB-E
 15
                Plaintiff,                    DECLARATION OF HEATHER F.
 16
                                              AUYANG IN SUPPORT OF TP-LINK
 17       v.                                  USA’S OPPOSITION TO THIMES’S
                                              MOTION TO STRIKE
 18
    TP-LINK USA CORPORATION, and
 19 AUCTION BROTHERS, INC. d/b/a
    AMAZZIA,
 20
 21             Defendants.
 22
 23
      TP-LINK USA CORPORATION,
 24
 25             Counterclaimant,

 26       v.
 27
      THIMES SOLUTIONS INC.,
 28
                                                                     No. 2:19-cv-10374-SB-E
                   AUYANG DECLARATION ISO TP-LINK’S OPPOSITION TO STRIKE
Case 2:19-cv-10374-SB-E Document 188-1 Filed 06/24/22 Page 2 of 3 Page ID #:2409



  1             Counter-Defendant.
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                   AUYANG DECLARATION ISO TP-LINK’S OPPOSITION TO STRIKE
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  1                    DECLARATION OF HEATHER F. AUYANG
  2         I, Heather F. Auyang, hereby declare and state as follows:
  3         1.    I submit this Declaration in support of TP-Link USA Corporation’s
  4 Opposition to Thimes’s Motion to Strike Paragraph 9 of TP-Link’s Counterclaim. I
  5 am an attorney admitted to practice before this Court and am a partner with LTL
  6 Attorneys LLP, counsel of record for Defendant and Counterclaimant TP-Link USA
  7 Corporation in the above-captioned case. I submit this Declaration based upon my
  8 personal knowledge, and if called as a witness could and would testify to the matters
  9 set forth.
 10         2.    On June 18, 2022, I visited Avraham Eisenberg LinkedIn webpage located
 11 at https://www.linkedin.com/in/avraham-eisenberg-1a909b107/. I printed a true and
 12 correct copy of this webpage, which is attached hereto as Exhibit A.
 13         3.    During the parties’ Local Rule 7-3 conference to discuss Thimes’s motion
 14 to strike, I explained to Thimes’s counsel that Paragraph 9 relates to injury to TP-Link’s
 15 reputation and goodwill, which have a direct relation to TP-Link’s counterclaim.
 16
 17         I declare under penalty of perjury that the foregoing is true and correct. Executed
 18 June 24, 2022 in Mill Valley, California.
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 20
                                               By: /s/ Heather F. Auyang
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                                                 1                          No. 2:19-cv-10374-SB-E
                     AUYANG DECLARATION ISO TP-LINK’S OPPOSITION TO STRIKE
